   Case: 1:14-cv-04664 Document #: 184 Filed: 05/29/18 Page 1 of 3 PageID #:5304



                                                                       3025201-KAP/BCP

                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


FEDERAL NATIONAL MORTGAGE                                 )
ASSOCIATION (“FANNIE MAE”); A            Plaintiff,       )   CIVIL ACTION
CORPORATION ORGANIZED AND                                 )
EXISTING UNDER THE LAWS OF                                )   File No. 1:14-cv-4664
THE UNITED STATES OF                     v.               )
AMERICA,                                                  )   JURY TRIAL DEMANDED
                                                          )
GEORGE L. OBRADOVICH;                                     )   Judge: Hon. Andrea R. Wood
JENNIFER M. OBRADOVICH,                  Defendants.      )
UNKNOWN OWNERS AND NON-                                   )   Magistrate Judge:
RECORD CLAIMANTS,                                         )   Hon. Sidney I. Schenkier



GEORGE L. OBRADOVICH;                                     )
JENNIFER M. OBRADOVICH,                  Counter-         )
                                         Plaintiffs,      )
                                                          )
                                                          )
FEDERAL NATIONAL MORTGAGE                v.               )   JURY TRIAL DEMANDED
ASSOCIATION (“FANNIE MAE”);                               )
SETERUS, INC.; SAFEGUARD                                  )
PROPERTIES, LLC,                         Counter/Third-   )
                                         Party            )
                                         Defendants.      )

          SAFEGUARD PROPERTIES, LLC’S MOTION TO REINSTATE ITS
                   MOTION FOR SUMMARY JUDGMENT

       NOW COMES, SAFEGUARD PROPERTIES, LLC (“SAFEGUARD”), by and through

its attorneys SmithAmundsen LLC, and respectfully moves this Honorable Court to reinstate its

Motion for Summary Judgment previously filed under Docket Nos. 160-162.
   Case: 1:14-cv-04664 Document #: 184 Filed: 05/29/18 Page 2 of 3 PageID #:5305



       The parties have conferred and propose following briefing schedule relative to

SAFEGUARD’s Motion for Summary Judgment: Counter-Plaintiffs to file response brief on or

before June 29, 2018 and SAFEGUARD will file its reply brief on or before July 20, 2018.



Date: May 29, 2018                         Respectfully submitted,


                                           /s/ Bethany C. Poulos
                                           Bethany C. Poulos (ARDC # 6310314)
                                           SMITHAMUNDSEN LLC
                                           150 North Michigan Avenue, Suite 3300
                                           Chicago, IL 60601-1635
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   Case: 1:14-cv-04664 Document #: 184 Filed: 05/29/18 Page 3 of 3 PageID #:5306



                                CERTIFICATE OF SERVICE

       I hereby certify that on May 29, 2018, a copy of the foregoing, Safeguard Properties,
LLC’s Motion to Reinstate its Motion for Summary Judgment was filed electronically and
served by mail to anyone unable to accept electronic filing. Notice of this filing will be sent by
e-mail to all parties by operation of the Court's electronic filing system or by mail to anyone
unable to accept electronic service. Parties may access this filing through the Court's CM/ECF
System.

                                             /s/ Bethany C. Poulos




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